236 F.2d 639
    L. B. PRICE MERCANTILE COMPANY, Appellant,v.Elbert J. JOHNSTON et al.
    No. 15600.
    United States Court of Appeals Eighth Circuit.
    Sept. 12, 1956.
    
      G. D. Walker, Jonesboro, Ark., and Maurice Cathey, Paragould, Ark., for appellant.
      Edward L. Westbrooke, J. C. Deacon, Jonesboro, Ark., and Bruce Ivy, Osceola, Ark., for appellees.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed at cost of appellant, on stipulation of parties.
    
    